AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District of Indiana

                  United States of America                        )
                             V.                                   )
                                                                  )       Case No.     3:19-mj-00091-MPB
                      TRENT WALKER                                )
                                                                  )
                                                                  )
                                                                  )
                          De/endam(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 August 11, 2019               in the county of              Spencer             in the
     Southern          District of ____
                                      ln_d_ia_n_a___ , the defendant(s) violated:

            Code Section                                                    Offense Description
Count 1: 18 U.S.C. § 2251(a)                  Sexual Exploitation of a Child (Minor Victim 1)
Count 2: 18 U.S.C. § 2252A(a)(5)              Possession of Child Pornography on or about 08.09.2019
(B)




         This criminal complaint is based on these facts:

See Attached Affidavit.




         � Continued on the attached sheet.


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                                                                                            Complainant ·s signawre

                                                                                  Andrew D. Willmann, Special Agent, FBI
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:             08/13/2019                                                   �-              Judge's signature

City and state:                     Indianapolis, Indiana                            Tim A. Baker, U.S. Magistrate Judge
                                                                                             Primed name and title
                       AFFIDAVIT IN SUPPORT OF APPLICATION


         I, Andrew Willmann, a Special Agent with the FBI, hereby depose and state

as follows:

         1.    Affiant: I am a Special Agent with   the Federal Bureau of Investigation,

and have been since June 2014. I have taken classes related to cyber-criminal activity

as well as classes related to the exploitation of children.     I   have also investigated

numerous crimes against children since being assigrred to the Indianapolis Field

Of6ce.   I am currently   assigned to the Indianapolis Violent Crimes Against Children

Task Force.     I   have completed five months of training at the FBI Academy in

Quantico, Virginia, and attended the Dallas Crimes Against Children Conference.

         2.    Requested     action: I   make this affidavit   in support of a Criminal
Complaint and Arrest Warrant charging TRENT WALKER with Count                  1: Sexual
Exploitation of a Child (Minor Victim        1), sometime on or before August 11, 2019,

in   violation of Title 18, United States Code, Section 2251(a); and Count              2:

Possession of Child Pornography, on or about August 11, 2019, in violation of

Title   18, United States Code, Section 22524(a)(5)(B).

         3.    Sexual Exploitation of a Child/Attempted Sexual Exploitation of

a Child: This statute provides that "Any person who          employs, uses, persuades,

induces, entices, or coerces any minor to engage in, or who has a minor assist any

other person to engage in, or who transports any minor in or affecting interstate or

foreign commerce, or in any Territory or Possession of the United States, with the

intent that such minor engage in, any sexually explicit conduct for the purpose of

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producing any visual depiction of such conduct or for the purpose of transmitting a

live visual depiction of such conduct, shall be punished as provided under subsection

(e),   if   such person knows or has reason to know that such visual depiction    will   be

transported or transmitted using any means or facility of interstate or foreign

commerce or in or affecting interstate or foreign commerce or mailed,       if that visual

depiction was produced or transmitted using materials that have been mailed,

shipped, or transported in or affecting interstate or foreign commerce by any means,

including by computer, or if such visual depiction has actually been transported or

transmitted using any means or facility of interstate or foreign commerce or in or

affecting interstate or foreign commerce or mailed." 18 U.S.C. $ 2251(a).     It is also a
crime to attempt to sexually exploit a child. 18 U.S.C.    S   225L(e).

            4.       Possession of Child Pornography: This statute, in pertinent parts,

prohibits        a   person from knowingly possessing    1or     more books, magazines,

periodicals, fiIms, video tapes, or other matter which contain any visual depiction

that has been mailed, or has been shipped or transported using any means or facility

of interstate or foreign commerce or in or affecting interstate or foreign commerce, or

which was produced using materials which have been mailed or shipped or

transported by any means, including by computer,          if the producing of such visual
depiction involves the use of a minor engaging in sexually explicit conduct and such

visual depiction          is of   such conduct. Title 18, United States Code, Section

22524(a)(5)(B).




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         5       Definitions:   The following defrnitions apply to this AIfidavit

         6       "Child Pornography" means any visual depiction of sexually explicit

conduct where (a) the production of the visual depiction involved the use of a minor

engaged       in sexually explicit       conduct, (b) the visual depiction   is a digital   image,

computer image, or computer-generated image that is, or is indistinguishable from,

that of a minor engaged in sexually explicit conduct, or (c) the visual depiction has

been created, adapted, or modified to appear that an identifrable minor is engaged in

sexually explicit conduct. See 18 U.S.C. $ 2256

         7.      "Minor" means any person under the age of eighteen years. See 18

u.s.c.   $ 2256(7).

         8.      "Sexually explicit conduct" means actual           or simulated (a) sexual
intercourse, including genital-genital, oral-genital, or oral-anal, whether between

persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or

masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of any

person. See 18 U.S.C. 52256(2).

         9.      "Visual depictions" include undeveloped fiIm and videotape, and data

stored on computer disk or by electronic means, which is capable of conversion into a

visual image. See 18 U.S.C.      S       2256(5)

         10. Information provided: The statements in this affidavit are based in
part on information provided by other law enforcement officers and my                         own

observations. Because this affidavit is being submitted for the limited purpose of

securing an arrest warrant,          I   have not included each and every fact known to me


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concerning this investigation.        I   have set forth only the facts that    I   believe are

necessary   to establish probable cause that to believe that TRENT WALKER
committed the above-Iisted offenses.

                OVERVIEW OF SPECIFIC PROBABLE CAUSE

      11.    Background ofthe Investigation: TRENT WALKER is a resident of

232 W. County 100 South, Rockport, Spencer County, Indiana 47635, which is in the

Southern District of Indiana.

      12.    Minor Victim   1   is Individual A and WALKER's                              , and

is approximately seven years' old. Individual A and WALKER are divorced, and

              of Minor Victim     1


      13.    Individual B resides with \IALKER at 232 W. County 100 South,

Rockport, Spencer County, Indiana 47635

      14.    On August 11, 2019, at approximately 7:2O AM, offrcers received a

complaint by Individuals A and B that TRENT WALKER had molested Minor Victim

1. Officers met with Individuals A and B at the Spencer County Sheriffs Office, and

after a short debrief, traveled to the Rockport Police Department to interview

Individuals A and B.

      15.    According   to Individual B, she has lived with WALKER at 232 W.
County 100 South, Rockport, Indiana, for approximately         2   years, and they have been

in an "off and on" romantic relationship for approximately           13   years. According to

Individual B, at approximately 4:40 AM on August 11, 2019, she was going through

WALKER's cellphone while he slept beside her because she believed WALKER was


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cheating on her. According to Individual B, she knew WALKER's phone password to

be "6666" and accessed his phone. Individual B went through WALKER's text

messaBes and the photo gallery stored his Samsung Galaxy          S7. The cellular phone

has an   IMEI of 359775072061553.

         16.     According to Individual B, she observed images of WALKER's               ,

Minor Victim 1. naked on Minor Victim 1's         bed. Individual B showed officers ten
images and two videos that Individual B took by using her own phone to capture some

of the images and videos she had observed on WALKER's phone before his cellphone

battery died.

         17.     One of the images that Individual B showed officers depicted Minor

Victim 1, nude, with her legs spread. There was semen on Minor Victim            1's vagina

and WALKER's penis was shown on Minor Victim               l's body.      T\vo photographs

depicted WALKER placing his finger into Minor Victim               l's   anus, and a third

photograph depicted Minor Victim 1 with her hand on WALKER's penis. Further, a

video depicted Minor Victim 1 kissing WALKXR's penis with semen on                it, and a
second video showed WALKER rubbing his penis on the inside and outside of            Minor

Victim   1's   vagina. There were a total ofat least 10 images and 2 videos.

         18.     Individual B told offrcers that Minor Victim   1 was seven   years'old and

that Individual B could readily identifu her in the photographs and videos. According

to Individual B, she believes that some of the images were produced on August            8,

2019,    in Minor Victim 1's bedroom due to the clothing that Minor Victim l           was




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wearing and because she knows that WALKER had                         with Minor Victim   1


that day.

       19.    Additionally, Individual B was able to identify the bedsheets and covers

on Minor Victim   l's bed as being those
                                                                  .

       20.    According to Individual B, she could also readily identi$, WALKER as

being the other person in the images and videos because he has a unique hair line on

his stomach, distinctive hands, and because she recognized the pants he was wearing.

According to Individual B, WAIKER often wore those pants, and they were blue

sweatpants with Hollister in white lettering down the side. According to Individual

B, no one was present at the residence on August 8, 2019 besides herself and
WALKER.

        21.   Individual B showed officers a naked photograph of WALKER that

WALKER had sent to Individual B approximately one year ago. The photograph of

WALKER depicted the same distinct hair pattern on his stomach as shown in the

above-described images and videos with Minor Victim 1.

       22.    Individual B was also able to identifu WALKER's penis because they

had been in a sexual relationship for approximately 13 years. According to Individual

B, she was able to identify WALKERs penis because     it   has a small birthmark on the

top of it.

        23.   According to Individual B, WALKER was very knowledgeable with

computers and had commented that he would destroy evidence             if he became aware


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that she had spoken to officers. According to Individual B, WALKER had told her

that he used security measures to protect his phone and personal computer.

      24.   Offrcers also interviewed Individual       A, Minor Victim 1's mother
According to Individual A, she was      in a sexual relationship with WALKER for
approximately two years while they were married.

      25.   Individual A identifred both Minor Victim 1 and WALKER in the images

saved by Individual   B. Individual A confrrmed that WALKER      has distinctive hands

and a unique hair line on his stomach

      26. Individual B       gave WALKER's Samsung Galaxy S7 with IMEI

35977 507 206155 3 to Spencer County    Sheriffs Department officers.

                                  r h       rr   n   nd Interview WALKER

      27. On or about August 11, 2019, Spencer             County Sheriffs Deputies

obtained authority from the Spencer Circuit Court to search WALKER's residence at

232 W. County 100 South, Rockport, Spencer County, Indiana 47635.

      28. During the execution of the search warrant, officers entered the
residence and observed numerous devices, such as computers, onto which data such

as images and videos could be saved. Officers observed that one computer was

operating QUBES, an operating system that anonymizes users over the Internet.

      29.   Offrcers read WALKER his Miranda rights, which he waived in writing.

WALKXR agreed to be interviewed by offrcers.

      30.   During the interview, WAIKER admitted the molesting Minor Victim         1

for at Ieast four years. WALKER further admitted to producing and distributing


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images and videos of Minor Victim     1   engaged in sexually explicit conduct. WALKER

further admitted that devices such as his computer and one or two of his cellular

phones contained images and videos depicting Minor Victim 1 engaged               in sexually

explicit conduct. According to WALKER, he used at least one cellular phone to

produce the images and videos of Minor Victim           1.   WALKER claimed that while

molesting Minor Victim 1, he performed oral sex on Minor Victim 1, and claimed that

the first time he touched Minor Victim 1 with his penis was the week prior to the

search warrant.

      Federal Officers Take Custodv of Devices Found on WALKER and in
       WALKER's Residence Recovered bv the Spencer Countv Sheriffs
                                 Department

        31.    Federal offrcers took custody   ol but did not search, the devices   recovered

by the Spencer County Sheriff s Department from WALKER's person and WALKER s

residence pursuant      to the local search warrant obtained by the Spencer County

Sheriffs Department from the Spencer County Circuit Court          1.


        32.    The Spencer County Sheriffs Department is         still in   possession of the

Samsung Galaxy 57, IMEI 359775072061553.

        33.    On August 12, 2Ot9, federal agents obtained the authority to search the

devices recovered from the Spencer County Sheriffs Department on WALKER's

person and     at his   residence from the Honorable Tim        A. Baker, United       States

Magistrate Judge, in the Southern District of Indiana.

        34.    Agents are obtaining authority to search WALKER's Samsung Galaxy

S?,   IMEI   35977 5072061553, and have neither seized nor searched the phone.



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        35.    Between on or about August 12,2079, and on or about August 13,2019,

agents executed the federal search warrant on WALKER's devices, including

WALKER's computer that was seized from his residence.

        36.    During a preliminary forensic review, agents observed the following on

WALKER's computer:

    a         Cap_20170228-215043-00:00:38-06.jpg: This image frle appears to be a
              screen capture of a video. It depicts what appears to be WALKER's face
              next to a minor female's vagina. The girl's underwear are pulled to the
              side exposing her vagina. WALLER tongue is near her vagina. The
              female's face is not visible.

    b         Cap-20170228-215043-00:01:01-76.jpg: This image flle appears to be a
              screen capture ofa video. It depicts the side ofan adult male's face. His
              tongue is touching the vagina of a prepubescent, minor female. The
              female's face is not visible.

    C         Cap-20170228-220638-00:00:49-05.jpg: This image file appears to be a
              screen capture ofa video. Itis a close-up of a prepubescent, minor female's
              vagina. Her underwear are pulled to the side and an adult male's erect
              penis is inside of her vagina.

        37.    Based on my training and experience, the images and videos observed

on WALKER's computer depict sexually explicit conduct of a prepubescent minor and

are child pornography.

        38.    Agents are sti-Il conducting forensic searches on WALKER's devices,

including WALKER's computer, and the investigation in ongoing.

        39. Interstate or foreign      commerce: The devices used to store the videos

were manufactured outside of the State of Indiana or contain parts that were

manufactured outside of the State of Indiana, and therefore, travelled in interstate

or foreign commerce.



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      40.    Conclusion: Based on m y training and experience, and the facts as set

forth in this affrdavit, there is probable cause to believe that TRENT WALKER has

committed the listed offenses, namely production and possession of child pornography

in violation of Title 18, United States Code, Sectio ns 2251(a) and 2252A(a)(5)(B).


                                 Andrew D. Willmann
                                 Special Agent
                                 Federal Bureau of Investigation

      Subscribed and sworn before me this 13th day of August, 2019


                                               3L=/
                                 Tim A. Baker
                                 United States Magistrate Judge
                                 Southern District of Indiana




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